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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 BARCLAYS CAPITAL INC.,
                       Plaintiff,                       CIVIL ACTION FILE
 v.                                                     NO. 1:16-CV-173-RWS
 WILLIAM THOMAS PAIR,
                       Defendant.

                                      JUDGMENT

       This action having come before the court, Honorable Richard W. Story, United

States District Judge, for consideration of plaintiff’s Motion to Confirm the Arbitration Award

and Defendant’s Motion to Vacate, and the court having granted in part and denied in part

Plaintiff’s motion and granted Defendant’s motion as it only sought vacatur of portions of

the award, it is

       Ordered and Adjudged that the arbitration award is vacated as to award of

principal and interest under the New Note and confirmed as to the denial of Defendant

Pair’s counterclaims. It is further ordered and adjudged that the award of $360,000 in

attorney’ fees is also vacated, and this action be, and the same hereby is, dismissed.

       Dated at Atlanta, Georgia this 16th day of March, 2017.

                                                   JAMES N. HATTEN
                                                   DISTRICT COURT EXECUTIVE and
                                                   CLERK OF COURT

                                                     By: s/Barbara D. Boyle
                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  March 16, 2017
James N. Hatten
Clerk of Court
By: s/B. D. Boyle
       Deputy Clerk
